      Case 2:20-cv-06587-VAP-JC Document 11-1 Filed 07/23/20 Page 1 of 1 Page ID #:43
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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
 Erica Reiners, et al.,                                                    CASE NUMBER
                                v.                          Plaintiff(s)
                                                                                                        2:20-cv-6587

 Chou Team Realty, LLC d/b/a MonsterLoans, Lend Tech                        (PROPOSED) ORDER ON APPLICATION OF
 Loans, Inc., Sean Cowell, Thomas Chou, Mikael Van Loon,                    NON-RESIDENT ATTORNEY TO APPEAR IN
 Jawad Nesheiwat, and Eduardo Martinez,
                                              Defendant(s).
                                                                                A SPECIFIC CASE PRO HAC VICE
The Court, having determined whether the required fee has been paid, and having reviewed the Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
 Smith, Taylor T.                                                                    of    Woodrow & Peluso, LLC
 Applicant’s Name (Last Name, First Name & Middle Initial                                  3900 E. Mexico Ave., Suite 300
 720-907-7628                               303-927-0809                                   Denver, Colorado 80210
 Telephone Number                           Fax Number
 tsmith@woodrowpeluso.com
                                E-Mail Address                                             Firm/Agency Name & Address
for permission to appear and participate in this case on behalf of
 Plaintiff Erica Reiners


 Name(s) of Party(ies) Represent                                     Plaintiff(s) ☐ Defendant(s) ☐ Other:
and designating as Local Counsel
 Aftergood, Aaron D.                                                                  of    The Aftergood Law Firm
 Designee’s Name (Last Name, First Name & Middle Initial                                    1880 Century Park East, Suite 200
 239853                          310-551-5221                  (310) 496-2840               Los Angeles, California 90067
Designee’s Cal. Bar No.          Telephone Number                   Fax Number
 aaron@aftergoodesq.com
                              E-Mail Address                                          Firm/Agency Name & Address
HEREBY ORDERS THAT the Application be:
 ☐GRANTED
 ☐DENIED:             ☐      for failure to pay the required fee.
                      ☐      for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                      ☐      for failure to complete Application:
                      ☐      pursuant to L.R. 83-2.1.3.2: ☐Applicant resides in California; ☐ previous Applications listed indicate Applicant
                             is regularly employed or engaged in business, professional, or other similar activities in California.
                      ☐      pursuant to L.R. 83-2.1.3.4; Local Counsel: ☐ is not member of Bar of this Court; ☐ does not maintain office
                             District.
                      ☐ because
IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: ☐ be refunded ☐ not be refunded.

Dated: Click here to enter a date.
                                                                                  U.S. District Judge/U.S. Magistrate Judge


 G-64 Order (05/16)       (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE              Page 1 of 1
